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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION


                                                                        Case No.: 22-17842-PDR
In re:                                                                  Chapter 11
VITAL PHARMACEUTICALS, INC., et al.,                                    (Jointly Administered)
            Debtors. _____________________/
VITAL PHARMACEUTICALS, INC., et al.,
         Plaintiffs,
v.                                                                Adv. Proc. No.: 23-01051-PDR
JOHN H. OWOC and MEGAN E. OWOC,
         Defendants.                             /

               NOTICE OF APPEARANCE AND REQUEST FOR SERVICE
       PLEASE TAKE NOTICE that Irwin R. Gilbert, Esquire of Conrad & Scherer, LLP, hereby

enters an appearance as counsel on behalf of Defendants, John H. Owoc a/k/a Jack Owoc, and

Megan E. Owoc, in the above-styled action and request that he receive copies of all pleadings,

motions, schedules, and notices filed or served in this matter.

                             CERTIFICATION OF ADMISSION

        I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for
the Southern District of Florida and I am in compliance with the additional qualifications to
practice in this Court as set forth in Local Rule 2090-1(A).
                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was served
electronically upon all parties registered to receive electronic notices via the Court’s CM/ECF
System on May 24, 2023.


                                                      Respectfully submitted,
                                                      CONRAD & SCHERER, LLP
                                                      633 S. Federal Hwy., Suite 800
                                                      Fort Lauderdale, Florida 33316
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                              By: /s/ Irwin R. Gilbert
                                      Irwin R. Gilbert
                                      Florida Bar No. 99473
